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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF VERMONT 2827 DEC -8 PM #9: 32

 

 

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UNITED STATES OF AMERICA ) ay A L
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Vv. ) Criminal No. 2:22-cr-94
)
FREDRICK CAMPBELL II, aka “Momo,” and )
JASON SICELY, aka “Jay,” )
Defendants. )
SUPERSEDING INDICTMENT
The Grand Jury charges:
Count One

Between in or about June 2022 to on or about August 4, 2022, in the District of Vermont
and elsewhere, the defendants JASON SICELY, aka “Jay,” FREDRICK CAMPBELL II, aka
“Momo,” and others, known and unknown to the grand jury, knowingly and willfully conspired
to distribute cocaine base, a Schedule II controlled substance.

(21 U.S.C. §§ 841 (a), 841(b)(1)(C))
Count Two
On or about August 4, 2022, in the District of Vermont, the defendants JASON SICELY,
aka “Jay,” FREDRICK CAMPBELL II, aka “Momo,” knowingly and intentionally possessed
with the intent to distribute cocaine base, a Schedule II controlled substance.

(21 U.S.C. §§ 841(a), 841(b)(1)(C))

A TRUE BILL

 

“ a P. KEREST (JAO)

United States Attorney

Burlington, Vermont
December 8, 2022
